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8
                           UNITED STATES DISTRICT COURT
9
                          NORTHERN DISTRICT OF CALIFORNIA
10
11     Brian Whitaker                            Case No.
12               Plaintiff,
                                                 Complaint For Damages And
13       v.                                      Injunctive Relief For Violations
                                                 Of: Americans With Disabilities
14     1428 Haight Inc, a California             Act; Unruh Civil Rights Act
       Corporation;
15
16               Defendant.
17
18         Plaintiff Brian Whitaker complains of 1428 Haight Inc, a California
19   Corporation; and alleges as follows:
20
21     PARTIES:
22     1. Plaintiff is a California resident with physical disabilities. He is
23   substantially limited in his ability to walk. He suffers from a C-4 spinal cord
24   injury. He is a quadriplegic. He uses a wheelchair for mobility.
25     2. Defendant 1428 Haight Inc, a California Corporation owned the 1428
26   Haight Patio Cafe & Crepery located at or about 1428 Haight St., San
27   Francisco, California, in September 2021.
28     3. Defendant 1428 Haight Inc, a California Corporation owns the 1428


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1    Haight Patio Cafe & Crepery (“Restaurant”) located at or about 1428 Haight
2    St., San Francisco, California, currently
3      4. Plaintiff does not know the true names of Defendants, their business
4    capacities, their ownership connection to the property and business, or their
5    relative responsibilities in causing the access violations herein complained of,
6    and alleges a joint venture and common enterprise by all such Defendants.
7    Plaintiff is informed and believes that each of the Defendants herein is
8    responsible in some capacity for the events herein alleged, or is a necessary
9    party for obtaining appropriate relief. Plaintiff will seek leave to amend when
10   the true names, capacities, connections, and responsibilities of the Defendants
11   are ascertained.
12
13     JURISDICTION & VENUE:
14     5. The Court has subject matter jurisdiction over the action pursuant to 28
15   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
16   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
17     6. Pursuant to supplemental jurisdiction, an attendant and related cause
18   of action, arising from the same nucleus of operative facts and arising out of
19   the same transactions, is also brought under California’s Unruh Civil Rights
20   Act, which act expressly incorporates the Americans with Disabilities Act.
21     7. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
22   founded on the fact that the real property which is the subject of this action is
23   located in this district and that Plaintiff's cause of action arose in this district.
24
25     FACTUAL ALLEGATIONS:
26     8. Plaintiff went to the Restaurant in September 2021 with the intention
27   to avail himself of its goods or services motivated in part to determine if the
28   defendants comply with the disability access laws.


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1      9. The Restaurant is a facility open to the public, a place of public
2    accommodation, and a business establishment.
3      10. Unfortunately, on the date of the plaintiff’s visit, the defendants failed
4    to provide wheelchair accessible dining surfaces in conformance with the ADA
5    Standards as it relates to wheelchair users like the plaintiff.
6      11. The Restaurant provides dining surfaces to its customers but fails to
7    provide wheelchair accessible outside dinning surfaces.
8      12. A problem that plaintiff encountered was that was the lack of sufficient
9    knee or toe clearance under the table for wheelchair users.
10     13. Plaintiff believes that there are other features of dining surfaces that
11   likely fail to comply with the ADA Standards and seeks to have fully compliant
12   dining surfaces for wheelchair users.
13     14. On information and belief, the defendants currently fail to provide
14   wheelchair accessible dining surfaces.
15     15. As a wheelchair user, the plaintiff benefits from and is entitled to use
16   wheelchair accessible facilities. By failing to provide accessible facilities, the
17   defendants denied the plaintiff full and equal access.
18     16. The failure to provide accessible facilities created difficulty and
19   discomfort for the Plaintiff.
20     17. These barriers relate to and impact the plaintiff’s disability. Plaintiff
21   personally encountered these barriers.
22     18. The defendants have failed to maintain in working and useable
23   conditions those features required to provide ready access to persons with
24   disabilities.
25     19. The barriers identified above are easily removed without much
26   difficulty or expense. They are the types of barriers identified by the
27   Department of Justice as presumably readily achievable to remove and, in fact,
28   these barriers are readily achievable to remove. Moreover, there are numerous


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1    alternative accommodations that could be made to provide a greater level of
2    access if complete removal were not achievable.
3      20. Plaintiff will return to the Restaurant to avail himself of its goods or
4    services and to determine compliance with the disability access laws once it is
5    represented to him that the Restaurant and its facilities are accessible. Plaintiff
6    is currently deterred from doing so because of his knowledge of the existing
7    barriers and his uncertainty about the existence of yet other barriers on the
8    site. If the barriers are not removed, the plaintiff will face unlawful and
9    discriminatory barriers again.
10     21. Given the obvious and blatant nature of the barriers and violations
11   alleged herein, the plaintiff alleges, on information and belief, that there are
12   other violations and barriers on the site that relate to his disability. Plaintiff will
13   amend the complaint, to provide proper notice regarding the scope of this
14   lawsuit, once he conducts a site inspection. However, please be on notice that
15   the plaintiff seeks to have all barriers related to his disability remedied. See
16   Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
17   encounters one barrier at a site, he can sue to have all barriers that relate to his
18   disability removed regardless of whether he personally encountered them).
19
20   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
21   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
22   Defendants.) (42 U.S.C. section 12101, et seq.)
23     22. Plaintiff re-pleads and incorporates by reference, as if fully set forth
24   again herein, the allegations contained in all prior paragraphs of this
25   complaint.
26     23. Under the ADA, it is an act of discrimination to fail to ensure that the
27   privileges, advantages, accommodations, facilities, goods and services of any
28   place of public accommodation is offered on a full and equal basis by anyone


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1    who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
2    § 12182(a). Discrimination is defined, inter alia, as follows:
3             a. A failure to make reasonable modifications in policies, practices,
4                or procedures, when such modifications are necessary to afford
5                goods,     services,   facilities,   privileges,     advantages,   or
6                accommodations to individuals with disabilities, unless the
7                accommodation would work a fundamental alteration of those
8                services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
9             b. A failure to remove architectural barriers where such removal is
10               readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
11               defined by reference to the ADA Standards.
12            c. A failure to make alterations in such a manner that, to the
13               maximum extent feasible, the altered portions of the facility are
14               readily accessible to and usable by individuals with disabilities,
15               including individuals who use wheelchairs or to ensure that, to the
16               maximum extent feasible, the path of travel to the altered area and
17               the bathrooms, telephones, and drinking fountains serving the
18               altered area, are readily accessible to and usable by individuals
19               with disabilities. 42 U.S.C. § 12183(a)(2).
20     24. When a business provides dining surfaces, it must provide accessible
21   dining surfaces.
22     25. Here, accessible dining surfaces has not been provided in conformance
23   with the ADA Standards.
24     26. The Safe Harbor provisions of the 2010 Standards are not applicable
25   here because the conditions challenged in this lawsuit do not comply with the
26   1991 Standards.
27     27. A public accommodation must maintain in operable working condition
28   those features of its facilities and equipment that are required to be readily


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1    accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
2       28. Here, the failure to ensure that the accessible facilities were available
3    and ready to be used by the plaintiff is a violation of the law.
4
5    II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
6    RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
7    Code § 51-53.)
8       29. Plaintiff repleads and incorporates by reference, as if fully set forth
9    again herein, the allegations contained in all prior paragraphs of this
10   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
11   that persons with disabilities are entitled to full and equal accommodations,
12   advantages, facilities, privileges, or services in all business establishment of
13   every kind whatsoever within the jurisdiction of the State of California. Cal.
14   Civ. Code §51(b).
15      30. The Unruh Act provides that a violation of the ADA is a violation of the
16   Unruh Act. Cal. Civ. Code, § 51(f).
17      31. Defendants’ acts and omissions, as herein alleged, have violated the
18   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
19   rights to full and equal use of the accommodations, advantages, facilities,
20   privileges, or services offered.
21      32. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
22   discomfort or embarrassment for the plaintiff, the defendants are also each
23   responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
24   (c).)
25
26           PRAYER:
27           Wherefore, Plaintiff prays that this Court award damages and provide
28   relief as follows:


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1        1. For injunctive relief, compelling Defendants to comply with the
2    Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
3    plaintiff is not invoking section 55 of the California Civil Code and is not
4    seeking injunctive relief under the Disabled Persons Act at all.
5        2. For equitable nominal damages for violation of the ADA. See
6    Uzuegbunam v. Preczewski, --- U.S. ---, 2021 WL 850106 (U.S. Mar. 8, 2021)
7    and any other equitable relief the Court sees fit to grant.
8        3. Damages under the Unruh Civil Rights Act, which provides for actual
9    damages and a statutory minimum of $4,000 for each offense.
10       4. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
11   to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
12
     Dated: September 13, 2021               CENTER FOR DISABILITY ACCESS
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14
15                                           By: ______________________
16                                               Amanda Seabock, Esq.
                                                 Attorney for plaintiff
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